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                 Exhibit J
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Blythe, Michele

From:              Anthony Paronich <anthony@paronichlaw.com>
Sent:              Friday, April 2, 2021 1:00 PM
To:                Blythe, Michele; Morton Denlow; murphy@mmmb.com; misny@mmmb.com; Crawford, Stephen;
                   Indych, Marsha J.; Daly, Michael P.
Cc:                Stewart Deborah
Subject:           RE: Jon Frey and Andrew Perrong v. Frontier Utilities Northeast LLC, et al.: Notice of Breach of
                   Settlement Agreement, JAMS # 1340019092
Attachments:       15. Frontier Preliminary Approval Motion.pdf




                               Caution - External Email (anthony@paronichlaw.com)

                                                Report this Email    Quick response     Emergency response      Tips




Counsel and Judge Denlow:

The Plaintiffs have filed a Motion for Preliminary Approval of the Settlement, which is attached. We’re
prepared to enforce the settlement agreement as agreed. However, with authorization from Mr. Frey, we have
proposed an alternative Preliminary Approval Order with Mr. Perrong as the sole class representative, despite
the fact that Mr. Frey could serve that role.

However, in an effort to ensure the settlement agreement is enforced efficiently, we did want to provide a
response to Frontier’s letter.

First, neither Mr. Frey nor his counsel have made any misrepresentations in connection with the settlement. Mr.
Frey, who has no prior criminal record, has been charged with a crime, but has not been tried or convicted. In
any event, the subject was simply never raised by anyone. Furthermore, publicly available documents regarding
the allegations against Mr. Frey were readily available if Frontier wanted to look into his background before
entering into the settlement agreement as opposed to after.

Mr. Frey, who has been in contact with counsel throughout the case, has authorized the settlement and reviewed
and approved the final agreement. Mr. Frey actively participated in the mediation and approved the settlement
that was reached on behalf of the class that day. Mr. Frey's company continues its operations and he wanted to
be available that day to consult with his employees and elected to participate telephonically as was his right.
Documents relating to the settlement agreement were made available in paper form for Mr. Frey’s review. He
fully and properly executed the Settlement Agreement in compliance with Paragraph 9.15. The Agreement is
valid and it is binding on all parties.

Finally, Mr. Perrong’s adequacy is in no way impacted by the fact that he knows Mr. Frey. As Frontier is well
aware as Mr. Perrong has litigated previously on a pro se basis against them, he is on the law review at Temple
University School of Law, where he has a scholarship. He has also accepted a position with the Consumer
Division of the West Virginia Attorney General’s office, which required an extensive background check. He has
no criminal record and has no pending charges or anything to do with Mr. Frey’s pending charges.

We’ll await Frontier’s response.

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in error, please immediately notify the sender and delete this e-mail message from your computer.




From: Blythe, Michele <Michele.Blythe@nexteraenergy.com>
Sent: Thursday, April 1, 2021 10:38 AM
To: Morton Denlow <mortdenlow@gmail.com>; Anthony Paronich <anthony@paronichlaw.com>;
murphy@mmmb.com; misny@mmmb.com; Crawford, Stephen <steve.crawford@gexaenergy.com>; Indych, Marsha J.
<marsha.indych@faegredrinker.com>; Daly, Michael P. <michael.daly@faegredrinker.com>
Cc: Stewart Deborah <dstewart@jamsadr.com>
Subject: RE: Jon Frey and Andrew Perrong v. Frontier Utilities Northeast LLC, et al.: Notice of Breach of Settlement
Agreement, JAMS # 1340019092

Dear Judge Denlow,

Thank you for your email. As set forth in our March 29, 2021 letter, it is Frontier’s position that the Class Action
Settlement Agreement and Release cannot be presented to the Court for approval. Plaintiffs and their counsel have yet
to provide a substantive response to Frontier’s letter. Given the significant issues raised in the letter, not the least of
which are the misrepresentations to Frontier during the negotiation of the settlement agreement, as well as the close
relationship between Mr. Frey and Mr. Perrong, a response to the letter is appropriate before Frontier determines
whether a settlement involving Mr. Perrong and the same class counsel is appropriate.

Regards,

Michele Blythe


Michele R. Blythe
Managing Attorney – Litigation
NextEra Energy Resources, LLC
700 Universe Blvd.
Juno Beach, FL 33408
Phone: (561) 691-7207
Facsimile: (561) 691-7103
Michele.Blythe@nexteraenergy.com

From: Morton Denlow <mortdenlow@gmail.com>
Sent: Thursday, April 1, 2021 8:13 AM
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To: Blythe, Michele <Michele.Blythe@nexteraenergy.com>; Anthony Paronich <anthony@paronichlaw.com>;
murphy@mmmb.com; misny@mmmb.com; Crawford, Stephen <steve.crawford@gexaenergy.com>; Indych, Marsha J.
<marsha.indych@faegredrinker.com>; Daly, Michael P. <michael.daly@faegredrinker.com>
Cc: Stewart Deborah <dstewart@jamsadr.com>
Subject: Re: Jon Frey and Andrew Perrong v. Frontier Utilities Northeast LLC, et al.: Notice of Breach of Settlement
Agreement, JAMS # 1340019092


Dear Counsel:

Anthony has brought to my attention the response he sent to Michele’s letter asking whether Frontier will proceed with
the settlement with Mr. Perrong as the sole class representative. Has Frontier made a decision? Please let me know if I
can be of assistance. We worked extremely hard to settle the case.

All the best,

Mort Denlow
mortdenlow@gmail.com
Cell:847‐204‐5405


        On Apr 1, 2021, at 7:50 AM, Morton Denlow <mortdenlow@gmail.com> wrote:



        Dear Counsel:

        I have been engaged in mediations and conference calls the last three days and have not previously had
        the opportunity to read and study Michele’s letter of March 29. I am deeply troubled by the information
        regarding the serious criminal charges facing Mr. Frey and its impact on the settlement. I will await
        Anthony’s response. Please keep me in the loop regarding this matter.

        All the best,

        Mort Denlow
        mortdenlow@gmail.com
        Cell:847‐204‐5405


                On Mar 29, 2021, at 5:05 PM, Blythe, Michele <Michele.Blythe@nexteraenergy.com>
                wrote:


                Dear Counsel:

                On behalf of Defendant Frontier Utilities Northeast LLC, please see the attached
                correspondence.

                Sincerely,

                Michele Blythe

                Michele R. Blythe
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Managing Attorney – Litigation
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Facsimile: (561) 691-7103
Michele.Blythe@nexteraenergy.com

<L ‐ Notice of Plaintiffs' Breach of Settlement Agreement ‐ March 29, 2021.pdf>




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